  Case 1:20-cv-00451-SKC Document 41-1 Filed 02/15/21 USDC Colorado Page 1 of 7




 Tiffany Grays                             Blackhawk Aquisition, LLC
                                           1900 W. Littleton Blvd
                                           Littleton, CO 80120
                         Denver



Tiffany Grays, pro se
PO Box 472322
Aurora, CO 80047      720-623-1883
Case 1:20-cv-00451-SKC Document 41-1 Filed 02/15/21 USDC Colorado Page 2 of 7




                   20-cv-00451-SKC


   Tiffany Grays



   Blackhawk Aquisition, LLC

   Shane Born
Case 1:20-cv-00451-SKC Document 41-1 Filed 02/15/21 USDC Colorado Page 3 of 7




  Tiffany Grays PO Box 472322 Aurora, CO 80047

   720-623-1883 Legalgrays@gmail.com




               Blackhawk Aquisition, LLC 1900 W. Littleton Blvd Littleton, CO 80120

               (800) 322-9034


               Shane Born 2900 AAA Court Bettendorf, IA 52722

                563-344-7605 | shaneborn@promaxunlimited.com
Case 1:20-cv-00451-SKC Document 41-1 Filed 02/15/21 USDC Colorado Page 4 of 7




        28 U.S.C. § 1355(a), 28 U.S.C. §2201, 28 U.S.C. § 1367

        15 U.S.C. § 1681 et seq, 15 U.S.C. § 1691 et seq, 15 U.S.C. § 1601 et seq.




                                  Colorado




                                           Delaware


                                             Iowa
        Case 1:20-cv-00451-SKC Document 41-1 Filed 02/15/21 USDC Colorado Page 5 of 7




                             FRAUDULENT CONCEALMENT OF MATERIAL FACTS




24. Unless otherwise noted, each Count is against all Defendants. Plaintiffs re-alleges the preceding paragraphs set forth above
 and herein and incorporate them herein all counts by reference inter alia:

25. Defendants concealed material existing facts described in this Complaint from the Plaintiff , including, but not limited to, the
 facts that: (a) the credit check which was being performed, was in true form, a ‘hard’ credit check, not the described “[s]oft inquiry;”
 (b) the website which was being used to submit the applications, with knowledge and intent by Defendants, was in true form, a ‘
Fully-qualified’ website, not the described “[P]re-qualified website,” (b) the Defendants intended on submitting credit applications, r
received online, under the pretenses of both (1) “[s]oft inquiry;” and (2) “[P]re-qualified website,” to numerous third parties, and in by
 doing so, was unauthorized; (c) Defendants were receiving and keeping the profits yielded by the unlawful practice described in
this Complaint; (d) Defendants are not following the promises in their client’s Privacy Policy.
26. Plaintiff has established that in fact, she does possess a consumer report, and in fact the Defendants did access that consumer
 report with legal permissible purposes, on or about March 17, 2018. Defendants then unlawfully used the consumer report and
provided authorization six times other lenders (¶20, supra), while verbiage implicitly stated, “[s]oft inquiry,” and “[P]re-qualified
website,” thereby without statutory permission, as Plaintiff never granted permission in accordance with 15 U.S.C. § 1681b(a).
27. Defendants actions afterwards shows true intentions, attempting to cover-up and lie about unlawful and unethical actions
directly injuring the Plaintiff. Defendants even failed to notify their own legal counsel of the removal of “[s]oft inquiry” from the
website, prior to stating for the third time, that Defendants had performed lawfully, and Plaintiff granted implicit permission.
Further purporting Defendants knowledge, awareness, comprehension and legal use of the term “[s]oft inquiry,” deceitfully
removing post notification of claim, willfully. According to the third party website, references a Marketing company as indicated
in the original disclaimer on the website, “,[d]ealer marketing services;” further purporting Defendants as a Consumer Reporting
 Agency.
28. These facts were material to the Plaintiff and were ought to have been disclosed as required by federal law, in equity
and good conscience.
29. The Plaintiff, ignorant of Defendants’ fraudulent concealment, relied solely and only on the statements provided by the
 Defendants’ client. The Plaintiff reasonably relied on Defendants’ representations, having no cause to speculate the truth and
accuracy of the statements.
30. Defendants’ misrepresentations were done so intently, only to induce the Plaintiff into disclosing her personal information, so
 Defendants could perform and profit from unauthorized hard credit inquiries
31. As a result of Defendants’ actions, the Plaintiff was injured as described herein and damaged in the amount to be proven at trial.
Case 1:20-cv-00451-SKC Document 41-1 Filed 02/15/21 USDC Colorado Page 6 of 7




                       FRAUDULENT MISREPRESENTATIONS OF MATERIAL FACTS



32. Defendants unlawfully used and accessed Plaintiff’s consumer report and provided authorization six times other lender
s (¶20, supra), while the verbiage on the website implicitly stated, “[s]oft inquiry,” and “[P]re-qualified website,” thereby
using and accessing Plaintiff’s consumer report via hard inquiry without statutory permission, as Plaintiff never granted
permission. Defendants go through rigorous training and understand credit; knowing the impact credit can have on the life
of a person, thereby, intentionally misrepresenting the financing experts intent and undoubted resulting stress that ensued.
Any credit issue is stressful.
33. Defendants’ violations have significantly harmed the Plaintiff as the Defendants’ website said they were performing a
 “[s]oft inquiry” on the “[P]re-qualified website,” in reality, Defendants were conducting ‘hard’ inquiries, on a ‘Fully-qualified
Website,” against the Plaintiffs’ consumer credit, furthering damaging ’ by releasing the consumer credit reports to multiple
third-party lenders. Hard inquires reduce the credit score, where soft inquires do not.
34. Restatement of ¶ 27, supra.
35. Restatement of ¶¶ 28-31, supra.




Additional Pages Regarding Additional Claims, Statement of Claims Attached as D. Statement of Claims
Case 1:20-cv-00451-SKC Document 41-1 Filed 02/15/21 USDC Colorado Page 7 of 7




         See additional pages attached E. Request for Relief




 /s/ Tiffany Grays, pro se

  February 15, 2021
